                    Case
OAO 245C (Rev. 06/05)      3:04-cr-00351-ADC
                      Amended Judgment in a Criminal Case            Document 633            Filed 07/26/07              PageIdentify
                                                                                                                        (NOTE: 1 of Changes
                                                                                                                                      5     with Asterisks (*))
         Sheet 1


                                           UNITED STATES DISTRICT COURT
                  FOR THE JUDICIAL                                      District of                                 PUERTO RICO
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                                   Case Number:                   04-0351 (05) (SEC)
    JUAN PABLO CALDERON-LA ROTTA                                                   USM Number:                    64563-004
Date of Original Judgment: July 6, 2007                                            RAYMOND RIVERA-ESTEVES
(Or Date of Last Amended Judgment)                                                 Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                   G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                     G 18 U.S.C. § 3559(c)(7)
                                                                                   G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X    pleaded guilty to count(s)       ONE (1) on 001/29/07
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                              Offense Ended                  Count
18:1956 (h)                         CONSPIRACY TO COMMIT MONEY LAUNDERING                                         JULY 23, 2003                    One
                                    A CLASS “C” FELONY.




       The defendant is sentenced as provided in pages 2                      of   5          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
X    Count(s)                   THREE (3)                     X is      Gare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   JULY 6, 2007
                                                                                   Date of Imposition of Judgment


                                                                                   S/ Salvador E. Casellas
                                                                                   Signature of Judge
                                                                                   SALVADOR E. CASELLAS, U.S. DISTRICT JUDGE
                                                                                   Name and Title of Judge

                                                                                   JULY 6, 20007
                                                                                   Date



RE-SENTENCE (*) due to the fact that on 7/6/07 during his sentencing hearing defendant w as unable to meaningfully
address the Court, because of repeated interruptions of his allocation by the court building’s fire alarm emergency
broadcast system.
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          Sheet 2 — Imprisonment                                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment — Page         2     of         5
DEFENDANT:             JUAN PABLO CALDERON-LA ROTTA
CASE NUMBER:           04-CR-351(5)(SEC)

                                                       IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term
of :

       FIFTY SEVEN (57) MONTHS. That he been given credit for the time spent in the custody
of the Colombian authorities, since 10/15/04, date he was arrested and detained in Colombia.


G The court makes the following recommendations to the Bureau of Prisons:




X The defendant is remanded to the custody of the United States Marshal.

G The defendant shall surrender to the United States Marshal for this district:
    G     at                                G   a.m.    G     p.m.        on                                    .

    G     as notified by the United States M arshal.

G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

    G     before 2 p.m. on                                       .

    G     as notified by the United States M arshal.

    G     as notified by the Probation or Pretrial Services Office.



                                                          RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                       to

a                                               with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                By
                                                                                      DEPUTY UNITED STATES MARSHAL
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           Sheet 3 — Supervised Release                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                 Judgment—Page        3     of         5
DEFENDANT:               JUAN PABLO CALDERON-LA ROTTA
CASE NUMBER:             04-CR-351(5)(SEC)
                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :             THREE (3) YEARS




        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

G     The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)

X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if

X     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      student, as directed by the probation officer. (Check, if applicable.)

G     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court as w ell as with any additional
conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
       five days of each month;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
       other acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
       convicted of a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
       confiscation of any contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the court; and
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record, personal history, or characteristics and shall permit the probation officer to make such notifications and
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          Sheet 3A — Supervised Release                                                 (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:            JUAN PABLO CALDERON-LA ROTTA
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                             ADDITIONAL SUPERVISED RELEASE TERMS


1. The defendant shall not commit another Federal, state, or local crime, and shall observe the standard
   conditions of supervised release recommended by the United States Sentencing Commission and
   adopted by this Court.
2. The defendant shall not unlawfully possess controlled substances.
3. The defendant shall refrain from possessing firearms, destructive devices, and other dangerous
   weapons.
4. If removed by the Bureau of Immigration and Customs Enforcement, the defendant shall remain
   outside the United States, and all places subject to its jurisdiction unless prior written permission to
   reenter is obtained from the pertinent legal authorities and the defendant notifies in writing the U.S.
   Probation Officer of this Court to that effect.
   If allowed to remain in the United States, you shall adhere to the following special conditions:
5. The defendant shall cooperate in the the collection of a DNA sample as directed by the U.S. Probation
   Officer, pursuant to the Revised DNA Collection Requirements, and Title 18, U.S. Code 3563 (a)(9).
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          Sheet 5 — Criminal Monetary Penalties                                                       (NOTE: Identify Changes with Asterisks (*))
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DEFENDANT:                     JUAN PABLO CALDERON-LA ROTTA
CASE NUMBER:                   04-CR-351(5)(SEC)
                                         CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                                        Fine                               Restitution
TOTALS          $ 100.00                                        $    0                                $ 0


G   The determination of restitution is deferred                . An Am ended Judgm ent in a Crim inal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                            Total Loss*                            Restitution Ordered                Priority or Percentage




TOTALS                           $                                          $


G    Restitution amount ordered pursuant to plea

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived           G fine          G restitution.
     G the interest requirement for         G    fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
